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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                     Albert Las Dulce,
                         Plaintiff
                             v.                                             Civil Action No.       1:20-cv-02650-DCC
                        R. Mack,
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                                                                    )



                          Defendant.

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 ’ the plaintiff (name)          recover from the defendant (name)             the amount of                          dollars ($ ),
which includes prejudgment interest at the rate of   %, plus postjudgment interest at the rate of                   %, along with
costs.

O The plaintiff, Albert Las Dulce, shall take nothing of the defendant, R. Mack, and this action is dismissed without
prejudice.


This action was (check one):

’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Donald C. Coggins, Jr., United States District Judge, presiding, agreeing with the Report
and Recommendation of the Honorable Shiva V. Hodges, United States Magistrate Judge, which recommended
dismissing the action.

Date: October 19, 2020                                                     ROBIN L. BLUME, CLERK OF COURT


                                                                                                  s/L. Baker
                                                                                        Signature of Clerk or Deputy Clerk
